                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA                             )
                                                      )
                                                      )       No. 3:08-CR-46-002
 V.                                                   )       (PHILLIPS/SHIRLEY)
                                                      )
 ALEJANDRO BARBA                                      )
 A.K.A. “ALEX BARBA”                                  )


                      ORDER OF TEMPORARY DETENTION
               PENDING HEARING PURSUANT TO BAIL REFORM ACT

                The defendant appeared in custody before the undersigned on May 22, 2008, for an

 initial appearance and arraignment on an indictment. Assistant United States Attorney Tracee

 Plowell was present representing the government. CJA Panel Attorney Alex Brown was present

 representing the defendant. The government moved for detention of the defendant. The defendant

 requested a hearing. The government indicated a need for additional time to determine defendants

 immigration status. Upon agreement of counsel a detention hearing is scheduled to commence

 before the undersigned on May 30, 2008 at 10:30 a.m. The defendant acknowledged and agreed

 that he would remain in detention until such hearing. The defendant shall be held in custody by the

 United States Marshal until May 30, 2008, and produced for the above scheduled hearing.

        For good cause shown, the defendant’s request not to contest, and to waive the detention

 hearing is hereby GRANTED.

                It is therefore ORDERED that:

                (1)    Defendant be detained.;

                (2)    Defendant be committed to the custody of the Attorney
                       General for confinement in a corrections facility separate, to
                       the extent practicable, from persons awaiting or serving
                       sentences or being held in custody pending appeal;




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            (3)   Defendant be afforded reasonable opportunity for private
                  consultation with counsel; and

            (4)   On order of a court of the United States or on request of an
                  attorney for the government, the person in charge of the
                  corrections facility in which the defendant is confined
                  deliver the defendant to a United States marshal for the
                  purpose of an appearance in connection with any court
                  proceeding.

      IT IS SO ORDERED.


                                        ENTER:

                                          s/ C. Clifford Shirley, Jr.
                                        United States Magistrate Judge




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